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                          U NITED STATE S D ISTR ICT CO U R T
                          SO UTH ER N D IST RIC T O F FLO R IDA

                                   xo. 13-m J'-0233:-6# wP
 U NITED STA TES O F A M ER ICA



 JUA N P.G M ND A ,
       a/lt/a,WFLECH A,''

       Defendant.
                                   /

                                CR IM IN A L C O V ER SH EET


       Did thism atter originate from a m atterpending in the N orthern Region ofthe U nited
       StatesAttom ey'sOfticepriorto October14,2003?                Yes X       No

        Did thism atteroriginate from a m atterpending in the CentralRegion ofthe U nited States
        Attorney'sO ffice priorto Septem ber 1,2007?           Yes       Y     No


                                             Respectfully subm itted,

                                             W IFREDO A .FERRER
                                             U N ITED STA TES A TTO RN EY


                                       BY:                 o
                                             F N CISCO R.M A D E L
                                             A SSISTA N T UN ITED STA TES A TTORN EY
                                             Fla.Bar.N o.41481
                                             99 N .E.4th Street
                                             M iam i,Florida 33132-2111
                                             TEL (305)961-9159
                                             FAX (305)530-7976
                                             francisco.maderal@ usdoj.gov
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AO 91(Rev.08/09) Cri
                   minalComplaint           .    .   -   -Z   -   ...   ..   -
                                                                             .    -   .-    ..   -


                                  U NITED STATES D ISTRICT C OURT
                                                       forthe
                                            Southern DistrictofFlorida

               United StatesofAm erica
                             V.
                                                                             caseNo.j'l-sy - gz37jx J'
                                                                                                     #.<.,
                                                                                                         :o
          JUAN P.GRANDA,a/k/a,'Flecha,'




                                                CRIM INAL COM PLAIN T

         1,theeomplainantin thiscase,statethatthefollowing istrueto the bestofmy knowledge and belief.
Onoraboutthedatets)of                  1/2013-3/2017         inthecountyof                                    Miami-Dade         inthe
   Southern    Distlictof               Florida      ,thedefendantts)violated:
           CodeSection                                                           OffenseDescri
                                                                                             ption
 Title 18,United States Code,            Conspiracyto Com mi
                                                           ttMoney Laundering
 Sectiona1956(h)& 1956(a)(2)




          Thiscriminalcomplaintisbased on these facts:
 SEE ATTACHED AFFIDAVIT.




          W continuedontheattachedsheet.


                                                                                                       Compla ant'
                                                                                                                 ssi
                                                                                                                   gnature

                                                                                                     ColberdAlmeida,S/A,HSl
                                                                                                        Plinted pfzzncandtitle

  Sworntobeforemeand signed in my presence.

          N .
  Date: - .
          î*
          ,           '-e'
                                                                                                          Jd/tïgc'
                                                                                                                 ssi
                                                                                                                   gnature

  City and state'
                .                   Miami,Fl
                                           orida                                           BarryL.Garber,U.S.Maqistrate Judqe
                                                                                                        Printed nameand title
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                                         A FFID A V IT

        1,COLBERD ALM EIDA,SpecialAgentwithHomeland Seculitylnvestigations(çtHS1''),
 having been tirstduly sw ol'n,do hereby depose and state as follow s:

                                     IN TR O D U C TIO N
                1submitthisapplication in furtherance ofan investigation workedjointly with
 FederalBureauoflnvestigation(FBl)SpecialAgentREFINA W ILLIS.
                Iam a SpecialA gentofthe U nited Statesas authorized by the H om eland Security

 A ctof2002,thatis,an ofticerofthe United States respcm sible forperform ing the dutiesprovided

 by law and regulation,and em pow ered to conduct investigations of offenses againstthe U nited

 States.

                I have been em ployed by the United States Departm ent of Hom eland Security

 (DHS),HSI,asaSpecialAgentsinceMarch2003.Priorto M arch 2003,1wasemployedbythe
 legacy agency,the United States Custom s Service as a Special A gent since M ay 2001. 1 am

 currentlyassignedtoHSI,SpecialAgentinCharge(SAC)M iami,CommercialFraud Group,and
 have been so assigned since June 2014.

        4.      Since m y initial em ploym ent,I have participated in num erous investigations of

 unlawful narcotics importation/distribution, money laundering and other financial crim es.

 Through m y training,education and experience,lhave becom e fam iliarw ith the m annerin which

 a wide variety of violations of federal law ,including drug trafficking,m oney laundering,other

  tinancialcrim es,asw ellasviolationsofintellectualproperty rightsand the m ethods in w hich the

  palrm entand laundering ofillicitproceedsare conducted.
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                 This affidavit is m ade in support of a clim inal complaint charging Juan P.

 GRAN D A ,a.k.a,ttFlecha,''w ith conspiracy to com m itm oney laundering,in violation ofTitle 18,

 UnitedStatesCode,Sections1956(h)and 1956(a)(2)(a).
        6.       A lthough 1am fam iliarw ith the fullbreadth ofthe facts and circum stancesofthis

 investigation,Ihavenotincludedin the affidaviteach and everyfactknown to me,butonly those

 factsand circum stancesthatlbelieve are sufficientto establish probablecause.

                 The statem ents contained in this affidavit are based on m y investigation,

 inform ation provided by others,and on m y expelience and training as a federalagentand thatof

 otheragentsparticipating in theinvestigation,including agentsofH SI,FBI,theD rug Enforcem ent

 Administration,Peru and EcuadorCountry Oftices(DEA),and theU.S.Customsand Border

 Protection(CBP).
                                     PR O BA B LE C A U SE
                 Begirm ing around January 2013,Juan P.G RAN D A and othersconspired to com m it

  money laundering by sendingbillionsofdollarsfrom theUnited Statesto Latin Americawith the

  intentto prom ote the carrying on oforganized criminalactivity,including illegalgold m ining,

  gold sm uggling and theentry ofgoodsinto theU .S.by falsem eansand statem ents,and narcotics

  trafficking.
         9.       G RAN D A undertook this conspiracy in connection w ith his em ploym ent as the

  Director of Operations,for NTR M etals (tENTR''),1a precious metals retinery.OtherNTR

  employeesjoinedGRANDA inthisconspiracy.




   1 tf
      N TR''or CC
                N TR M etals''or ççElem etal''is the brand nam e of w hat is now Elem etal LLC a
  preciousmetalscompany which,accordingto itswebsite,ûtmeltgsl,mintgsl,sellgsq,shipgsl,and
  storegsjpreciousmetalsaroundtheworld.''NTR isheadquarteredinDallas,Texaswith,atvarious
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        10.    Asapreciousmetalsrefinery,NTR buysunrefined preciousm etals,such asm ined

 gold,refines it,and sells itfor profit.The profitm argins are sm all,often less than 0.5% ofthe

 valueofthe gold refined.So,to increaseprofitsN TR m ustbuy and retine asm uch gold aspossible.

               N TR em ploys tfsales''staffto tind and buy as m uch gold as possible.G RAN D A

 along w ith CtSA LESPERSON 1''and tESA LESPER SO N 2''w ere N TR 'S M iam i-based sales team

 responsible for finding and buying gold in Latin A m erica and the Caribbean.N TR encouraged

 G RAN DA and SA LESPERSON S 1 and 2 to obtain as m uch gold as possible by com pensating

 them w ith com m issions based on the volum es ofgold they purchased.

        12. In recent years,M iami emerged as a major intenzational gold trading hub,
 particularlyforLatinAmericangold,bothlegalandillegal.Themajorityofgoldimportedintothe
 U.S.entersthrough theM iamilnternationalAirport,and severalmajorgoldretineriesoperatein
 South Florida,including N TR .
       ILLEGAL G OLD M INING.SM VGGLING & M ONEY LAUNDERING IN LATIN A M ERICA

                lllegalgold,m ined in violation offoreign law ,isa signiticantproblem tltroughout

 Latin Am erica and particularly in Peru,where illegalm ining isresponsible forthe devastation of

  largeswathsofrainforest.Becauseillegalminingoccursin remotejungle areas,itisdifticultto
  accessand difficultto police,and itisoften controlled by organized clim e and sm uggled along the

  sam eroutesasnarcotics.ln Peru,illegalm ining issupported by human trafficking,forced adult

  and child labor,and prostitution in and around m ining cam ps.A reas in w hich illegalm inersbul'
                                                                                                  n

  dow n therainforestand strip aw ay the surface oftheearth rem ain barren because ofcontam ination



  tim es relevant to this Com plaint,offices around the w orld,including a M iam ioffice located in
  D oral,Florida.
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 from chem icals such as m ercury used in the m ining process.The M adre de D ios region and the

 city of Puerto M aldonado,for instance,are w ell-know n epicenters of illegal gold m ining and

 sm uggling activitiesin Peru.

               The internationalgold trade has becom e a com m on m ethod for the laundeling of

 illegal m ining,narcotics and other crim inal proceeds. Crim inals f'
                                                                     requently trade illegal gold

 through illicit shell or front com panies using false or incom plete docum ents, often sm uggled

 through third-party countries,and then sold to refineries in the U .S.,in an effortto hide the true

 source,ow nership,and origin ofgold from foreign and U .S.law enforcem ent.

        15.     Clim inals use the sam e schem e to launder narcotics and other clim inalproceeds.

 ln general,gold is a good m edium for m oney laundering because it has universal and readily

 ascertainable value and is difticult to trace. By way of exam ple, a confidential source,z w ith

 established tiesto Peruvian narco-traftickers,explained thathe isaware ofm illionsofdollarspaid

 in the U .S.to Peruvian narco-traftickers.The narco-traffickers then physically sm uggle the cash

 paym entsback to Peru w here itisused to purchase-illegally m ined gold,and the gold isthen sold

 to refineriesin the U .S.and elsew here.O nce the gold arlivesatthe refineries,the crim inalsreceive

 w ire transferpaym entsinto the bank accountoftheirchoice.On the surface,the paym entappears

 to be fora legitim ate gold-sale transaction,and notfrom any underlying crim inalactivity

        16.     By w ay of another exam ple,l am aw are of an instance in w hich an individual

 attem pted to purchase gold in Peru in orderto launderthe proceedsofan illegalinternetgam bling

 businessoperated from Costa Rica.




 2 This contidential source is a convicted felon w ith other potential credibility issues. This
 inform ation isprovided asbackground only.
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        17.    A cross Latin A m erica,illegal gold sm uggling and m oney laundering is a well-

 know n problem and a prom inentsocialand politicalissue.SeveralLatin A m erican countrieshave

 initiated illegal gold,m oney laundering,and sm uggling investigations,m any of w hich involve

 gold being sold to N TR .Forexam ple,according to m edia reports:

                       In late 2013,Peru seized approximately $l8 m illion worth of gold bound

 for exportto refineries in M iam iand elsewhere,including N TR,on the basis that the exporters

 could notdem onstrate the legalorigin,possession,orpurchase ofthe go1d.3A tleastone ofthese

 com panies sending gold to NTR was lateridentified asbeing financed by P.F.,a well-known

 individual in Peru,previously accused but acquitted of narcotics m oney laundering.4 P .F.has

 recently been an-ested by the Penw ian governm ent in connection w ith his alleged illegal gold

 m ining and laundering schem eexceeding $500m illion worth ofgold.
                        By late2014,Latin Am erican custom sdatarevealed thatbeginning around

 February2014(aftertheillegalgoldseizuresandairportcrackdownsinPenzl,illegallyminedgold
  from M adre de Diosand otherregionsofPeru,wasbeing sm uggled across the borderinto Bolivia

  and then exported to refineriesin M iam i,including N TR .5

                 c.     In m id-2016,Ecuadorarrested num erousindividualsin colm ection with an

  approxim ate $400 m illion gold money laundering schem e,involving Peruvian gold purchased in




  Fhttp'.//elcom ercio.pe/sociedai lim a/aduanas-incauto-m edia-tonelada-oro-ilegal-usl8-m illones-
  noticia-1683890
  4htT '
       .//elcom ercio.pe/sociedaim adre-de-dios/m itad-expodadoras-oro-mira-m ineda-ilegal-
  noticia-1708977

  5http://ojo-publico.coe lz/los-vuelos-secretos-del-oro-ilegal
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 theEcuadorianbordercityofM achala,whichwasthensoldtorefineriesinM iami(independently
 knownbyyouraftianttoincludeNTR).6
                d.     A lso in m id-2016,Chile an-ested num erous individuals in connection w ith

 severalinvestigations into illegalgold sm uggling,dating back to m id-2014,involving Peruvian

 gold sm uggled into Chile near the Chilean border city of Arica and later gold from Argentina

 sm uggled into Chile via the Paso Los Libertadores route through the Andes M ountains,the latter

 ofw hich w as then sold to N TR in M iam i.?

        l8.     U nited States custom s im port records as w ell as N TR 'S ow n records, confirm

 N TR'Sinvolvem entin thesehighly suspicioustransactionsand trendsfrom 2013 onw ard,the sam e

 tim e period in w hich G RAN D A and SA LESPER SON S 1 & 2 conducted N TR 'S business

 throughoutLatin A m erica.

                 N TR 'S H IGHLY SUSPICIOUSLATIN AM ERICAN G OLD IM PORTS

         19.    U nited Statescustom s im portrecords strongly suggestthatN TR purchased illegal

 gold in Peru beginning in late 2012 and then purchased sm uggled Penzvian gold through Bolivia

 and Ecuadorin 2014.

                                 IllegalG old from Peru in 2013

        20.     ln2013,N TR declared $9808m illion worth ofgold importsfrom Penl,and wasthe

 largestU .S im porter of Peruvian gold.This tigure is rem arkable in thatN TR had only im ported

 $73m illion from Peru theyearbefore,and hadvirtually no gold importsfrom Penlbeforethat.



 Uhttps'
       ./
        /ww w .vedicenew s.com /O ta-cdm inal-oro-ecuatodano/

 7http://ciperchile.cl/zol6/o8/lg/la-tram a-oculta-del-m ayor-contrabando-de-oro-detectado-en-
 chile/
 8These U .S.custom s im porttigures are approxim ate and rounded.

                                                6
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               Overa third ofNTR'S 2013 Peru imports ($340 million)came from justfive
 com panies,now know n to have been financed by P.F. Each of those com panies operated as

 apparentfrontcompanies:nonehad anyU.S.gold importhistoliesand each operated and exported

 for only severalm onths,m ostly one afterthe otherand w ith overlapping straw ow ners.

        22.    Five other exporters w ith sim ilar patterns of no im port history,shortbursts of

 soaring exportsand overlapping and related m anagem ent,accounted foranother$310 million of

 N TR 'S2013 Penzim ports.A nd sim ilar,single com paniesw ith no im porthistoriesand shortbursts

 ofsoaring exportsmadeupthemajorityofNTR'Sremaining Peruimportsin2013,includingfor
 instance,onecom pany which exported over$50 m illion worth ofgold in 2013 to NTR overthe

 courseofjust6months,neverhavingpreviouslydoneso.
               Thevastmajorityofthesecompaniesdidnotpurporttobe operating goldmines,
 but sim ply to be gold ççcollectors,''a vague business that involves nothing m ore specific than

 som eone who buysgold from others.ln addition,som e ofthese Gtcollectors''exported m illions of

 dollars'w orth ofgold on an alm ostdaily basis,w hich w ould have required these ttcollectors''to

 have accessto sim ilaram ounts ofcash to finance these daily gold purchases.

               ln D ecem ber 20l3, Peru cracked dow n on illegal gold shipm ents from

 internationalairportin Lim a,seizing gold,including gold destined to N TR from one ofthe P.F.

 com panies, and instituting strict gold export requirem ents and controls at Penl's intem ational

 aip orts.

        25.     A lm ostnone of the com panies thatN TR im ported gold from in 2013 went on to

 exportto the U .S.again thereafter.
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        26.      Following Peru'sillegalgold crackdown,N TR'Simportsfrom Perusank from $980

  m illionin 20l3to $79m illion in2014,andasdiscussedbelow,itsimportsfrom Peru'sneighboring

  countriesofEcuadorand Bolivia,grew by $485 m illion.

                    lllegalG old Sm uggled through Ecuador & Bolivia in 2014

                 A fterPeru's illegalgold crackdow n in D ecem ber 2013,N TR 'S Peru gold im ports

  sartk,and its im ports from Ecuadorand Bolivia grew by $485 m illion,as graphically depicted

  below :

                         TotalNTR Gold Im portsfrom Peru v.Ecuador& Bolivia
            $1,200,000,000
                             . + - Peru
            $1,000,000,000
                             ..* .. Ecuador& Bolivia                 @y       N
                                                                                  x
             $800,000,000                                         z
                                                                    zv             x*
                                                              z                         N
             $600,000,000                                     z                             %x                   .*
                                                         z'                                   *             ....
                                                     z                                            N     .*
             $400,000,000                         z '                                          ..
                                                                                                    Nx*
                                                                                                    *

                                              z                                         .*   ..         N
                                          #                                         .*
                                                                                       .*                   N
             $200,000,000             z
                                          z                                   .
                                                                                  ...                           N*
                                                                  . * *** *
                                    (f** +* ********X*Y                       #                                      %
                        $-
                                   2012                                  2013                                    2014

                                                                                   PertllllegalM ining
                                                                                      Crackdow n


                  W ithrespecttoEcuador,in2014NTR'Sgoldimportstripledto$337million(from
  $l0lmilliontheyearbefore),and$128millionofthatcamefrom SpartandelEcuador,oneoftwo
  companiesconnected to the $400 million gold money-laundering schem eprosecuted in Ecuador.

  M oreover,virtually a11ofthe gold N TR purchased from Ecuador,including the gold from Spartan
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  delEcuador was routed through an intennediary com pany,M V P Im ports LLC ,a Florida entity

  w hose principaladdress isa sm allboutique hom e store on M iracle M ile in CoralGables.g

         29.    W ith respectto Bolivia,in 2014 N TR 'S gold im ports grew m ore than ten-fold to

  $270 million (from $19 million the yeal-before),and $250 million ofthatcame from several
  Bolivian companies(and onePenwian company)withnohistoryofeverhavingexportedgoldto
 theU .S.from Boliviapriorto 2014,oneofwhich single-handedly accounted for$220 m illion.
          lllegaland Sm uggled G old in Colom bia,Chile,G uyana,and the C aribbean

         30.    N TR 'Shighly suspicious gold im ports did notcease in 2014 and w ere notlim ited

 to Peru,Ecuador,and Bolivia.A s N TR 'S gold im ports from Ecuador and Bolivia slow ed after

  2014,the majority ofits imports shifted in 2015 to Peru's third neighbor:Colombia,lowith
  additionalrising im portsfrom Chile,Guyana,and the Calibbean.

         31.    Altogether,NTR'SimportrecordssuggestthatNTR imported $100sofmillionsin
  illegalgold from Peru in 2013,and w as able to m aintain thisbillion-dollar-a-year enterplise, by

  sm uggling illegalgold through a shifting array ofLatin Am erican countries,allfalling underthe

  salesresponsibility ofGR AN DA and SALESPERSON S 1 and 2.

                A11told,NTR im portedover$3.6billion dollars'worth ofgold from Latin Am erica
  from 2012 through 2015.

         33.    Confidentialsources and other evidence confirm that GRANDA together with

  SA LESPERSO N S l and 2,and others,know ingly conspired to purchase gold w ith the intentto


  9Although N TR w asthe ultim ate purchaserofthe gold, M V P lm portsw asthe declared ttim porter
  ofrecord,''on U .S.custom s declarations,m asking N TR 'S role as the ultim ate purchaser, on the
  U .S.custom s im portrecords.

  10N TR'S2015 importsfrom Colombiamorethan doubled to $722 million, from $268 million the
  year before,and accounted for m ore than half of allof Colom bia's gold exports to the U nited
  States.
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 prom ote the carrying on of organized crim inal activity, including illegal gold m ining, gold

  sm uggling and the entry ofgoodsinto the U .S.by false m eansand statem entsto U.S.Customs,

  and narcoticstrafficking.

                ILLEGAL G OLD SM UGGLING & M ONEY LAUNDERING CONSPIM CY

                 N TR 'S salespersons prom ote new business and find m ore gold to purchase by

  'tsm iling and dialinp ''that is,by learning w ho has gold to sell,m aking introductions,form ing

  custom er relationships, and m aking sales pitches designed to w in new business. ln form ing

  custom er relationships,N TR salespersons visit custom ers in country,invite them to tour N TR

  facilities in the U .S.,and entertain them ,allin an effortto w in theirbusiness and buy theirgold so

  thatN TR can profitby refining itand the salespersons can earn com m issions.

                 N TR com petes forcustom ers againstother refineries,allofw hom are offering to

  pay essentially the sam eprice forthe custom er's gold- the spotprice setby the internationalgold

  m arkets.Accordingly,the prim ary w ay thatN TR com petes isby paying for the gold fasterthan

  otherretineries.Forinstance,ifttlketinery X''willpay $1,000,000 foran am ountofgold within

  48 hoursofreceiving it,butNTR willpay the $1,000,000 within 24 hours,NTR willlikely win

  the business.The custom er selling gold wants paym ent as soon as possible so itcan purchase

  anotherround ofgold to sellassoon aspossible.

         36.     M oreover,by paying its custom ers faster N TR buys m ore gold and m akes m ore

  protits overtim e.The sooner the custom erispaid,the soonerthe custom er can obtain additional

  gold,and the sooner it can sellthat additionalgold to N TR,and the m ore frequently this cycle

  occurs,the m ore gold N TR purchasesover tim e.

                 Forallofthe billionsofdollars'w orth ofgold shipped from Latin A m erica to N TR

  in M iam i,N TR sentbillions ofdollarsin w ire paym ents to Latin A m erica from the United States.


                                                   10
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  ln effect,N '
              Tlkprom oted itsclients'businessw ith fastpaym ents,and prom oted the Latin Am erican

  gold trade in generalw ith billionsofdollarsofw ire transfers.

         38.    W ith respect to Latin A m erica,G RAN DA and SA LESPERSON S 1 and 2,and

  others, conspired to send these international w ires with the intent to prom ote further gold

  transactions and businesses they knew involved:organized crim e,gold sm uggling and entry of

  goodsinto the U .S.by false m eansand statem ents,illegalm ining,and narcoticstrafficking,a1lin

  the hopes ofcreating m oreprofitsforthem selves and N TR .

                                   Encrypted C om m unications

         39.     Throughout the tim e of the conspiracy, GR AN DA and his co-conspirators,

  com m unicated w ith each other and their clients prim arily via peer-to-peer encrypted m essaging

  applicationson theircellphones,such asW hatsA pp,in orderto avoid detection.N evertheless,1aw

  enforcem enthasbeen able to obtain the contentofsom e ofthese encrypted com m unications.

         40.     In W hatsApp group chatsbetw een G RAN D A ,SA LESPERSO N S 1 and 2,a1lthree

  acknowledge and discuss their conspiracy to purchase illegally m ined and sm uggled gold,for

  instance:

                        On O ctober 1,2014,GR AN D A traveled to Puerto M aldonado in Peru and

  discussed w ith SA LESPERSON S 1 & 2 their sources ofillegalPeruvian gold;G RAN D A m ade

  reference to him selfasa m odern-day Pablo Escobar:

                 GR AN D A :           Justlanded in Puerto 93 degrees

                 SA LESPER SON 2: Stay safe

                 GR AN DA :            l'm like Pablo com ing to Ecuador to get the
                                       coke

                                                *+ *
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                GRANDA:                 l have (Person lj's materialrouted to the
                                        priests...



                SALESPERSON 2: So gperson 11isbuyingasgcompany 11and
                                        exporting thru trade as w hat exporter? San
                                        Fidel?

                GRANDA :                She isbuying butit's allunderthe table no
                                        docs

                SA LESPER SON 2: So w ho islegalizing it?

                G RAN D A :             A nd selling itto the curasthey ship underSan
                                        Fidel, or Carbocol or trade ... San Fidel
                                        Providesthe papersl1. . .W hatru trying to set
                                        m e up

                SA LESPERSON S 2: So allgetm etaliscom ing to us? Justneed to
                                        know cause we thoughtthat gcompany 1)
                                        w as done.

                       O n October 28,2014,SA LESPER SON 2 traveled to La Paz, Bolivia and

  com plained that it w as GR AN D A 'S fault that they were doing business in Bolivia because of

 G RAN D A 'S role in causing Peru's illegal gold crackdow n and then acknow ledged purchasing

  sm uggled Peruvian gold in Bolivia:

                SA LESPER SON 2: Finally landed in la Paz

                                        On my way to hotelto meetgperson 21for
                                        dilm er

                SA LESPER SON 1: N everbeen so happy


 11M inera San FidelS.A .,Trade M inerals S.A .C.,and CarbocolPenlS.A .C.w ere a11clients of
 N TR 'S at the tim e.A dditionally,internalN TR em ails show thatin August of2014, G RAN DA ,
 w ith SA LESPERSON S 1 and 2,subm itted a clientapplication forTrade M inerals LLC , a Florida
 entity related to clientTrade M inerals S.A .C.,in w hich SA LESPER SON 2 w ould explain thatthe
 com pany principals w ere al1kkin sem inary together,''i.e.,priests or,in Spanish, curas.
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                                              + + +


               SA LESPER SON 2: 1think this is a11Juan'sfuck up
                                              * * *


               SA LESPERSON 1: H ad he not fucked up Peru you wouldn'tbe
                               chasing ouncesin m odern day 1972

               SA LESPERSON 2: H e a lying fuck up

               G RAN D A :           1 m ight have lied about fucking up, but at
                                     leastIam notin Bolivia

               SA LESPER SON 2: Fuck off

                                      Bolivia is keeping us afloat

                                      Bolivia isw here it's at

               G RAN D A :            Y ea,tella11ofm y peru gold good night

                                      I'm taking m y shitback

                                      lthink(SALESPERSON 11issmugglingthe
                                      gold outofpenlso he won'tpay m e 1ol

                SA LESPER SON 2: You Peruvians fucked itup

                SALESPERSON 1: Lsending imageofsmallpresumably African
                               childrenj
                                      That'sthe tharlkslgetforfeeding a village of
                                      niglets

                GR AN DA :            Lm ao

                       On Decem ber7,2014,GR AN DA senta link to a Spanish-language online

  article from D ecem ber 5,2014,w hich detailed illegalgold m ining in Peru and gold sm uggling

  through Bolivia,lzand the follow ing conversation ensued:




  12http://ojo-publico.com/lz/los-vuelos-secretos-del-oro-ilegal
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                GRANDA:               Lsending Peru-Bolivia gold smuggling
                                      articlej
                                      D id u read it?



                SA LESPERSO N 1: Juan.Find m ore.There is even one thatcam e
                                 outon Reuters.Looks like a hottopic allofa
                                 sudden.

                SA LESPERSO N 2: Shit

                SA LESPERSO N 1: ltdoesn'tm ention us though

                SA LESPERSO N 2: Should lpostpone BOLIV IA trip??

                       On D ecem berl9,2014,GR AN DA and SA LESPERSON lbragged to each

  otherabouttheir respective Etm ules''and the am ountofgold they have sm uggled,even swapping

  picturesofthe young m en they em ploy as the m ules.

                SALESPERSON 1: Justanotherday in Colom bia

                                      150kg

                                      Lsending pictures of gold bars with and
                                      withoutblackshrink-wrappingj
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             G RAN DA :         N ice



             SA LESPERSO N 1: The m uleshad to shitthe packets

             G RAN DA :         Lo1

                                Letm e know when he m oves300 in one day

             SALESPERSON 1: Lsending picture of young, presumably
                            Colombian,malewithabackpackj




             GRAN DA :          That'sm ine

                                Lsending picture     young, presum ably
                                Peruvian,malej
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                SA LESPERSON 1: W hat kind of lim ean robbery are you
                                involved in now ?

                GRAN D A :             1'm in charge ofgetting usm aterial

                         On Febnlary 2,2015,SA LESPER SON 1,com plains about the m onth-to-

  date(M TD)gold figures,andsuggeststhatGRANDA obtainmoresmuggledPeruvian goldfrom
  Bolivia and Ecuador'
                     .

                SA LESPER SON 1: M TD isan ugly picture



                SALESPER SON 1: Juan

                                       W e need m ore Peruvian gold from Bolivia
                                       and Ecuador

                                       Can u m ake ithappen?

                GRANDA:                Anything for(SALESPERSON 2)
                         On M ay 27,2016,G RAN DA com plains aboutthe volum e ofgold brought

  in thatm onth because of a ''state of em ergency'' in M adre de Diosl3 and com plains about not

  having been able to sm uggle m ore gold through Bolivia and Guyana:



  13In M ay 24, 20l6,m ediareportsexplained thatPeru had declared a state ofem ergency in M adre
  de Diosbecauset6hairsam plesfrom localpeople in theM adrede Diosarea ofeastern Perurevealed
  levelsofm ercury up to 16 tim es w hatit considered a safe lim it''and thattE-
                                                                               f'he drastic m easures
                                                  l6
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                G RA N DA :           Looks like 86k

                                      W e gotfucked by price

                SA LESPERSON 2: Fuck u

                                      Stilla good m onth

                G RAN D A :           A good m onth is 94k+

                SALESPERSON 1: Lsendinganunknownmediaflej
                SA LESPERSON 2: Then you should have pulled yourw eight

                G RAN DA :            l have failed... Spot price and state of
                                      em ergency in m adre de dios got us...1 caht
                                      g-çïcjbelieve1didn'tplanit
                                      Yet Bolivia & G uyana have VIP exits to
                                      export and u can't get anym ore Peruvian
                                      good?

                SA LESPER SON 2: Failto plan,plan to fail

                GRAN DA :             *gold

                                      Those      country's     r    looser    than
                                      (SALESPERSON 1j's ass after riding a
                                      horse.

                g.     On June 26,2016,SA LESPERSON 1 sends a link to an article aboutthe

 gold m oney laundering arrests in Ecuador relating to Spartan del Ecuadorl4 and w arns his

 colleaguesaboutw iretapsand com m unicating via phone:




 have been triggered by a w ave ofillegalgold m ining in the area thathas seen asm any as 100,000
 m iners destroy vastsw athes of the A m azon,ravage liver ecosystem s w ith dredgers,and poison
 the w ater table w ith m ercury and other m ining byproducts.''httpsr//new s.vice.coe adicle/pe- -
 declares-state-of-emergency-in-its-jungles-due-to-rampant-mercury-poisoning
  14https'
         ./
          /w ww .vedicenew s.com /H ta-cdm inal-oro-ecuatodano/
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                SALESPERSON 1: Lsending linktoarticlej
                                               * + *


                GR AN DA :            W PM is m entioned

                                      G lad w e aren't

                                      D on'
                                          tlike the factthatcallsw ere intercepted

                SA LESPER SON 1: Keep telling you guys aboutthe calls

                                      Hopefully thishelps

                GRAN DA :             Yea you are right

                                      Butthecallswithcustomers,mightjusthave
                                      to do everything face to face

                                      U don'tspeak w ith custom ers,so u don'thave
                                      those situations

                                      W e need to find a w ay to avoid this

                SA LESPERSON 1: Should be nothing to avoid

                                      That'sthewholepointyou #simplebitch

         41.     The W hatsApp chats contain num erous other com m unications am ong the co-

  conspirators acknow ledging and furthering the conspiracy. ln addition,G RAN D A sentnum erous

  chatsto third parties in which he brags abouthiscrim inalactivity,forinstance:

                a.     On October24,2014,GRANDA explainedto friendsin adiscussion about

  encrypted chats:''A sfarassecurity,lalready have to w orry aboutintelligenceofficialsm onitoring

 m y callsw ith exportersanyways...penlis//1 in drug exportsand illegalm ining exports.''

                b.     On N ovem ber 12,2014,G RAN DA bragged to friendsthatoneofhisclients

  was involved in narco-trafficking,having access to w holesale-priced kilogram s of cocaine in

  Bolivia,and thata second clienthad ordered the m urderofthe firstclient:
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               Peru exportsthe m ostillegaldnlgsin the w orld,and the only thing thatthey
               exportm ore than thatis inform algold ...Rem em berw hen 1w as in Bolivia
               and Isaid lknow someonethatcan geta$700 kilo ofcoke ...W elllhelped
               him m oveto cusco and geta million $ overtheborder ...He isa Gennan
               that is m y custom er from Bolivia ... O nly thing is that on Friday m y
               custom erfrom cusco putouta hiton him for som e bad business.

                        On Decem ber5,2014,GR AN DA sentto hisfriendsthe sam e picture ofhis

 ''m ule''from Peruthathe would latersend to SALESPERSON S tand 2 on December 19, 2014

  and bl-ags:'tBehind the scenesin the gold businessffcusco #v ice ...Little do u know thatthere is

  $800k in abookbag underthatdesk.''

                d.      On Febrtlary 12,2016,G RAN D A 'S friend senthim a textlûw ishing . . . m y

 favoritegold smuggle(yfcqavery happy valentine'sweekend''and GRANDA respondedççloll
 canreadthejealousybetweenthelines.''
                                    C onfidentialC ooperators

         42.    lnterview s of severalconfidentialsources in Latin A m erica and the U nited States

 w ith personalknow ledge ofthe eventshave confirm ed the clim inalconspiracy am ong G RAN D A ,

 SA LESPER SON S 1 and 2 and others.Forinstance:

                ConfidentialSource 1:         In late 2016, law        enforcem ent interview ed

 Confidential Source 1 (CS1)regarding hisadmitted illegalgold money laundering activitiesin

 Peru.CS1 explained thathe conspired with GR AN D A and SA LESPERSO N S 1 and 2, to traffic

 in illegalPeruvian gold,m uch ofw hich involved Peter P.F.,and thatthe conspiracy evolved over

 tim e from using obviousPerttvian frontcom panies,to sm uggling tluough Bolivia and Ecuador, to

 using m ore sophisticated Peruvian frontcom panies, to sm uggling through farther out countries,

 including islands in the Caribbean.For instance,according to CS 1:

                       ln 2013,C S1 assisted P.F.in exporting illegally m ined gold without any

 docum entation to N TR through a seriesoffrontcom panies.W hen the Peruvian authorities began
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  to question a frontcom pany because ofthe sudden high volum e ofunexplained gold shipm ents, a

  new frontcom pany w ascreated and the gold shipped through it.C S1w asintroduced to G RAN DA

  and SA LESPER SON S 1 and 2 ata birthday party forP.F.in early 2013,15and w ould latersee the

  N TR em ployees at severalother m eetings w ith P.F., including one m eeting at P.F.'S house.

  A ccording to CS1 allthree N TR em ployees w ere aw are of P.F.'S involvem ent w ith the front

  com paniesand thatthe gold w asillegal.

                b.      GRAN DA and SA LESPERSON S 1 and 2 w enton to purchase additional

  illegally m ined gold through frontcom paniesin 2013 w ith C S1,separate from the P.F.com panies.

  Thispractice ended atthe end of20l3,w hen the Peruvianscracked down on illegalgold shipm ents

  from itsinternationalaip ort.

                       ln early 2014,CS1's businessw ith N TR in Peru felloff as little gold w as

  exported from Peru and gold began being sm uggled through Bolivia and Ecuador.D uring thistim e

  CS1assisted GRANDA and SALESPERSONS 1and 2 in leanzing aboutgold çfleads''in Bolivia.

                       In late 2014, G RAN D A approached C S1 w ith a new Penlvian front

  com pany schem e,involving illegal gold being spread am ong m any front com panies exporting

  sm allvolum es atthe sam e tim e,ratherthan one frontcom pany ata tim e exporting high volum es,

  so asto avoid suspidon.CS1and GRANDA wentonto use them any-front-company approach to

  again exportillegally m ined gold to N TR from Penl;GR AN DA dictated w hich com paniesto route

 the gold through.




  15Travelrecords confirm thatG RAN DA and SA LESPERSON S 1 and 2 travelled to Lim a, Penl
  from M iam ion the days surrounding P.F.'Sbirthday.
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                        Later GR AN D A asked C S1 to investigate the possibility of sm uggling

  Penlvian gold though a Caribbean island,and introduced CS1 to individuals capable of m oving

  gold through the Caribbean island,but the logistics of m oving gold from Lim a, Peru to the

  Caribbean island proved too difficult,and the schem e w as notexecuted.

                        Overthe course ofseveralyears,CS1wasinvolved with the sale of$100s
  ofm illions w orth ofgold to N TR from Peru;CS 1 believes thatonly one shipm entvalued around

  $50,000m ighthavebeen legal.

         44.     ConfidentialSource 2(CS2):          In late 2016,law enforcement intelwiewed

  CS2 regarding hisadm itted illegalgold sm uggling and m oney laundering activities. CS2 explained

 thathe eonspired w ith N TR,through SALESPERSON S 1 and 2,to com m it gold sm uggling and

 m oney laundering,involving Chile,Argentina,A frica,and Europe,and that SA LESPER SON S 1

 and 2acknowledged theirpartin theillegalgold sm uggling and launderingconspiracy involving

  Pertl,Ecuadorand Bolivia.M ore specifically,according to CS2:

                 a.     ln oraround 2014,in Peru,CS2 m ade contactw ith CCSM U GG LER 1,55w ho

 w as also involved in the gold business,and,specifically,selling Penw ian gold.CS2 agreed to

 purchase gold from SM UGGLER 1andboth agreed itw aspreferableto smugglethe gold across

 the Peruvian borderinto Chile and then exportthe gold from Chile concealing its true country of

  origin Penl.

                 b.     In orderto sm uggle the gold,CS2 w ould fly to the Chile-peru borderw here

 hewould driveacrosstheborderwith cash (often $1,000,000 USD ormore)hidden in thedoor
 panels ofhis car.CS2 then w ould rendezvous w ith SM U G G LER 1 in the Penw ian city ofTacna

 w hel'
      e he would exchange the cash for gold and then drive back across the border w ith the gold

 hidden in the doorpanels.CS2 sm uggled gold from Peru to Chile in this fashion, five to ten tim es
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  during the sum m er of 2014, m oving a total of approxim ately 300kg of gold, worth around

  $10,000,000 USD,and then selling itto another company for exportfrom Chile In or around
                                                                                     .




  August2014,CS2's Peruvian gold sm uggling schem e w asdiscovered by Chilean authoritiesw ho

  seized som e ofthe contraband gold after CS2 crossed the border into Chile.

                        A fter the seizure, CS2 w as no longer able to purchase gold from

  SM U G GLER 1 in Peru.CS2 began searching for a new supplier of gold and a new exporting

  com pany.C S2 began to negotiatew ith an Argentine gold dealer:''SM U G GLER 2.'5SM U GG LER

  2 wasw illing and able to sm uggle contraband gold from M endoza,Argentina to C S2 in Santiago,

  Chile.CS2 w asm issing only an exportpartnerto sellthe gold to. CS2 asked his fonnersm uggling

  partner from Peru, SM U G G LER 1, whether he had any export contacts and SM U GG LER l

  suggested N TR in M iam i,Florida and itsrepresentative,SA LESPERSON 2. 16

                d.      In or around Septem ber 2014,CS2 subm itted applications with NTR to

  begin selling and exporting gold through histw o corporations,w hich w ere approved. ln oraround

 N ovem ber 2014,CS2 senthis tirst shipm entof gold to N TR in M iam iand traveled to M iam ito

 m eetSALESPERSON 2 and otherN TR em ployees in orderto discuss theirfuture business. CS2

  stayed ata Hyatt Hotelin C oralG ables,Florida fol-this firsttrip to M iam i,and, after he arrived,

  SA LESPERSO N 2 picked up CS2 from the CoralG ables'hotel,along w ith SA LESPERSO N 1.

  SA LESPERSON S 1 and 2 then took CS2 to lunch atthe çfllouston's''restaurantin CoralGables.

                e.      Duling lunch, SA LESPER SON 1 explained that he was N TR 'S V ice

 President of Latin Am erica and the Caribbean,and SA LESPERSON 2 explained that he w as

 N TR 'SD irectorofSales forLatin Am erica.Both explained thatCS2 could trustthem because they


  16IntenzalNTR records confirm thatN TR previously im ported gold from an apparentPeruvian
 frontcompany associated with SM UGGLER l,which exportedover$50 million worth ofgold to
 N TR overthe course ofseveralm onths in 2013.
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 w anted to supporthim and keep a business relationship going in the long tenn.SALESPERSON S

  1 and 2 explained thatthey could help C S2'sbusinessgrow by getting hispaym entsto him sooner.

  SA LESPERSO N S 1 and 2 stated thatSM U GG LER 1w asa good friend oftheirsand thatthey had

 m ethim in Lim a,Peru severaltim es,and SA LESPERSON 2 m entioned thatSM U G G LER 1 had

 infonned them of CS2's previous Peruvian sm uggling operation. SALESPERSON S 1 and 2

 acknow ledged difficulties exporting gold directly from Peru to the U .S.and that a lotof gold is

 sm uggled from Peru to the neighboring countries of Bolivia and Ecuador for exportto the U .S.

 SA LESPER SON S 1 and 2 then stated thatthey exported a lotofgold from Bolivia and Ecuador,

 which C S2 interpreted as a signalthatthey w ere also sm uggling gold from Peru.

                f.     D uring the lunch,C S2 explained to SA LESPERSON S l and 2 hisplan to

 sm uggle gold from Argentina to Chile for sale to N TR.SA LESPERSON S 1 and 2 asked whether

 it was possible to do so w ithoutgetting caught,and CS2 explained thatitw ould depend on his

 ability to justify the amount of gold he was exporting to the Chilean customs authorities.
 SALESPERSONS 1and2 askedhow CS2wouldjustifytheamounts,andCS2explainedthathe
 w ould claim the gold cam e from coins he w aspurchasing and sm elting.SA LESPERSON S 1 and

 2 responded that C S2 should attem pt this schem e and w ent on to explain that N TR w as a

 prestigious fil'm ,accredited by CO M EX and the LBM A and thatonce the gold reached the U .S.,

 there w ould be no issues.A llagreed that future conversations regarding sm uggling should take

 place in person and notoverphones or in w riting.

                g.     A fterlunch,SA LESPERSON S 1and 2 took CS2 to N TR 'Sfacility in Doral,

 Floridaforatour.A fterthetour,allthree m etin an office and reiterated theiragreem entto sm uggle

 gold from Argentina to Chile and exportthe gold from Chile to the U .S.,w ithout disclosing

 Argentina asthe true country oforigin on any custom sdocum ents orotherwise.


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                h.     During C S2's stay in M iam i,SA LESPERSON S 1 and 2 assisted CS2 in

 form ing a corporation in M iam i, and opening a corresponding U .S.bank account. CS2 had

 previously explained to SALESPERSON 2 that he w as having difficulties m aintaining bank

 accountsin Chile due to anti-m oney laundering com pliance reasons,and,atthe H ouston's lunch,

  SA LESPERSON S 1 and 2 explained to CS2 thatthey had an accountantin M iam iw ho could assist

 him in opening a U .S.cop oration account.A t one point,SA LESPERSON 2 drove C S2 to an

  accountant'sofficeand then to a bank representative (both ofwhom SALESPERSON 2 had a
  relationship with and introduced CS2 to)and successfully assisted CS2 in fonuing a Florida
  corporation and bank account.

                       A fter CS2'trip to M iam iand m eetings w ith SA LESPERSON S l and 2,he

 proceeded to purchase the sm uggled gold from SM U G G LER 2 in A rgentina and exportitto N TR

  in M iam i,which falsely claim ed Chile asthe country oforigin in itsU .S.custom sdeclarations.

                        ln oraround Decemberof2014,CS2 exported approximately $5.5 million
  USD worth ofgold to NTR and would go on to exportapproximately an additional$15 million

  U SD w orth of gold to N TR .C S2 estim ates that90% ofthis gold w as illegally sm uggled from

  A rgentina.

                k.      A fter the successful shipm ents of sm uggled gold in Decem ber 2014,

  SA LESPERSON S 1and 2 traveled to Santiago,Chile to visitw ith CS2,in oraround January 2015.

  Ata m eeting in CS2'office,SALESPERSON 1,SA LESPER SON 2 and C S2 confirm ed thatthe

  gold sm uggling operation from A rgentina to the U .S.had been a success.SALESPERSON S 1 and

  2 stated thatthey knew C S2 had begun to send the sm uggled gold based upon the sudden increase

  in volum e.
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                       During the m eeting, CS2 m entioned the possibility of purchasing large

 am ounts of gold in Africa and inquired of NTR'S ability to purchase the gold from him .

 SA LESPER SON S 1 and 2 explained thatthey w ould notbe allow ed to purchase gold ifA flica

 w aslisted asthe country oforigin.SA LESPERSON S 1 and 2 explained,how ever,thatthey w anted

 to purchase the gold and thatthey could assistCS2 in m oving the gold through Europe in orderto

 obscure itstrue country oforigin.SA LESPERSO N S 1 and 2 explained thatitw assim ply a m atter

 of coordinating activity, that N TR has offices in Europe, including in Binningham , U nited

 Kingdom and Barcelona, Spain, and that N TR has knowledge of European custom s' law s.

 SA LESPERSON S 1 and 2 encouraged CS2 to travel to A frica and arrange to purchase and

 sm uggleasm uch gold aspossible.SA LESPERSON S 1and 2 had explained to CS2 thatN 'rlkpays

 them a com m ission based upon the volum e of gold they purchase and that they were alw ays

 looking and w illing to purchase m ore gold.

               m.      Later at lunch in Santiago,Chile,SA LESPERSON S 1 and 2 proposed an

 additionalgold sm uggling schem e to CS2.SA LESPER SON S 1 and 2 explained thatN TR had a

 potentialcustom erin Ecuadorwho wasselling gold sm uggled from Penl,butthatNTR'Santi-

 m oney laundering com pliance departm enthad denied the custom erapprovalbecausethe potential

 custom er was also in the business of hom e appliances, w hich w as considered suspicious. l?

 SA LESPERSON S 1 and 2 proposed that C S2 purchase the gold from Ecuador using the U .S.

 com pany they had helped him create and then sellthe sm uggled Peruvian gold to N TR .




 17 Internal N TR em ails corroborate that SA LESPER SO N 2, w ith SA LESPER SON 1, had
 previously subm itted an application to open an accountw ith an Ecuadolian individualinvolved in
 theappliancebusiness,which wasrejected by NTR becauseççgajppliancebusinesseshavebeen
 historicalvenues for N orth A m erican-south A m elican traffickers to launder drug cash.''CS2 is
 notknow n to have had any access to internalN TR em ails.

                                                25
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                n.      SA LESPERSO N S 1 and 2 stated that they w ere buying 200 to 300

 kilogram sperm onth ofsm uggled Peruvian gold from a cooperative in Bolivia.l8

                        Later that night, SA LESPER SO N S 1 and 2 took CS2 out to a club in

  Santiago,Chile,w here they entertained him w ith alcoholand prostitutes,w hich they purchased.lg

                P.      SA LESPER SON S 1 and 2 had encouraged CS2'stravelto Africa and w ere

 interested in the am ountof gold thatcould be purchased there.ln or around February 2015,CS2

 traveled to Tanzania,Africa forapproximately seventeen (17)days.W hen CS2 arrived atthe
 airportin Tanzania,he w as im m ediately introduced to a localgold supplier.

                q..     The localgold supplier show ed C S2 a lotofgold thatw asnotyetexported

 outofA frica because the gold had notcleared custom s due to unpaid taxes.A fter show ing CS2

 thisgold,C S2 agreed to pay to begin the process.

                        C S2 called SALESPER SO N S 1 and 2 to give them an update and

 SA LESPERSON S 1 and 2 encouraged CS2 to keep trying to w ork on getting the sm uggled gold

 outof A frica,and reiterated that they w ould all m ake a large profit on m oving the gold out of

 A frica to sellto N TR .

                S.      Ultim ately,the trip was unsuccessful.CS2 lostapproximately $300,000
 U SD,m ostly in unreturned paym entsto the A frican supplier,in the failed attem ptto sm uggle gold

 through A frica to N TR.CS2 and NTR neverreceived any ofthe gold.




 18InternalN TR em ailsand salesrecords, asw ellasU .S.custom sim portdata,contirm thataround
 thetim e ofthism eeting w ith C S2,N TR w asexporting gold from tçm ining cooperatives''in Bolivia
 through a single com pany,with totalvolum esexceeding 700 kg per m onth.
  19 Encrypted chats am ong GR AN DA and SA LESPERSON S 1 and 2 corroborate theirpenchant
  forhiring prostitutesw hile in Latin A m elica on gold business,and even show the co-conspirators
  sharing photosoftheirlatestprostitutesand com paring them to previousprostitutes.
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                                         C O N C LU SIO N

        45.     Based upon the infonnation provided above,l respectfully subm it thatprobable

 cause existsto believe thatfrom in or around January 2013 and continuing to thepresentJuan P.

 GRAN DA ,a.k.a.,ttFlecha,''and others conspired to transport,transm it and transfer funds to a

 place in the United States from or through a place outside the U nited States,w ith the intent to

 prom ote the carrying on ofspecified unlawfulactivity,in violation ofTitle 18,United StatesCode,

 Sections1956(h)and 1956(a)(2)(A).Thespecifiedunlawfulactivityincluding:
                a.     The entry of goods by m eans of false statem ents,in violation of Tile 18,

 United States Code,Section 542,
                               '

                       An offense against a foreign nation, that is, a violation of, Legislative

 Decree 1102,Article 307-A ,Crim e oflllegalM ining againstthe Republic ofPeru,w ith respectto

 w hich the U nited States w ould be obligated to by a m ultilateral treaty to extradite the alleged

 offenderifthe offenderw ere found within the territory ofthe U nited States;and
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                      A n offense againsta foreign nation involving the m anufacture im portation,

 sale or,distribution ofa controlled substance (as such term isdefined forthe purpose ofthe
 Controlled Substances A ct.



                                       Respectfully subm itted,



                                       CO LBERD L     D A ,SPECI A GEN T,
                                       H OM ELAN D SECU RITY INV ESTIGA TION S

 Sw orn and subscribed before m e
 this    day ofM arch,20l7.
     -
         /o ,?
           ,'''
           , ,.
                           '




 BA RRY L.GA BER
 UN ITED STA ES M A G ISTR ATE JU D GE




                                               28
